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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                  UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           Case No: 1:21-CR-00023 NONE-SKO

12                                 Plaintiff,            STIPULATION BETWEEN THE UNITED
                                                         STATES AND DEFENDANTS REGARDING
13                                                       PRODUCTION AND REVIEW OF
                                                         PROTECTED INFORMATION AND
14                          v.                           PROTECTIVE ORDER

15                                                       Ctrm:           7

16   JATINBHAI BHAKTA, and                               Hon.            Sheila K. Oberto
     ROY DREES
17

18                                 Defendants.

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21          This case involves a charge related to the operation of an alleged criminal enterprise for
22 approximately three years. During this time numerous adults, and several minors, were the victims of

23 sex trafficking by pimps. The discovery in this case contains private personal information related to the

24 defendants, as well as third parties (both adults and minors), including but not limited to their names,

25 dates of birth, physical descriptions, telephone numbers and/or residential addresses (protected
26 information). Some of the discovery also involves sensitive financial information.

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 1          The parties desire to avoid both the necessity of large-scale redactions and the unauthorized

 2 disclosure or dissemination of this personal information to anyone not a party to the court proceedings in

 3 this matter, so the parties agree that entry of a protective order would be appropriate and facilitate the

 4 expeditious exchange of information about the case.

 5          As a result, defendant Roy Drees, by and through his counsel of record, Charles Lee, and the

 6 United States of America, by and through Assistant United States Attorney David Gappa, agree as

 7 follows:

 8          1.      This court may enter a protective order under Rule 16(d) of the Federal Rules of Criminal

 9 Procedure, and the court’s general supervisory authority.

10          2.      The protective order will cover all discovery provided to or made available to defense

11 counsel as part of discovery in this case.

12          3.      By signing this stipulation and protective order, defense counsel agrees not to share any

13 documents that contain protected information with anyone other than defense counsel’s associated

14 attorneys, designated defense investigator(s), designated defense expert(s), and/or support staff. Defense

15 counsel may permit the defendant to view unredacted documents in the presence of his attorney(s), defense

16 investigator(s), and/or support staff. The parties agree that defense counsel, defense investigator(s), and

17 support staff shall not allow the defendant to copy or record protected information contained in the

18 discovery. The parties agree that defense counsel, defense investigator(s), and support staff may provide
19 the defendant with copies of documents, if any, from which protected information has first been redacted.

20          4.      The discovery and information within it may be used only in connection with the litigation

21 of this case and for no other purpose. The discovery is now and will forever remain the property of the

22 United States of America (the government). Defense counsel will return the discovery to the government

23 at the conclusion of the case.

24          5.      Defense counsel will store the discovery in a secure place and will use reasonable care to

25 ensure that it is not disclosed to anyone in violation of this agreement.
26          6.      Defense counsel shall be responsible for advising the defendant, employees, and other

27 members of the defense team, and defense witnesses of the contents of this stipulation and order.

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 1          7.     In the event that defendant substitutes counsel, undersigned defense counsel agrees to

 2 withhold discovery from new counsel and to return any discovery provided to the government.

 3          8.     The government might make digital evidence (possibly including contraband) available

 4 within the confines of the Homeland Security Investigations, Federal Bureau of Investigation, and/or the

 5 Bakersfield Police Department or other appropriate law enforcement facility approved by the

 6 government. If made available in this way, the digital evidence (contraband) shall not be viewed by any

 7 person other than defense counsel, and/or defense investigators and experts, and such viewing shall be

 8 conducted only as necessary to prepare for defendant’s defense. Neither defense counsel nor any
 9 representative of defense counsel will remove any digital evidence or contraband from the custody or

10 control of the law enforcement agency.

11          IT IS SO STIPULATED.

12
     Dated: ________, 2021                             /s/ Charles Lee
13                                                     Charles Lee
                                                       Attorney for defendant
14                                                     Roy Drees

15
     Dated: January 29, 2021                           McGREGOR W. SCOTT
16                                                     United States Attorney

17
                                                       By: /s/ David Gappa
18                                                     David Gappa
                                                       Assistant U.S. Attorney
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 8                                  UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                           Case No: 1:21-CR-00023 NONE-SKO

12                                 Plaintiff,
                                                         PROTECTIVE ORDER RELATED TO
13                                                       STIPULATION BETWEEN THE UNITED
                                                         STATES AND DEFENDANT REGARDING
14                          v.                           PRODUCTION AND REVIEW OF
                                                         PROTECTED INFORMATION
15
                                                         Ctrm:           7
16   ROY DREES,
                                                         Hon.            Sheila K. Oberto
17                                 Defendant.

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20                                                       ORDER
21          1.      Defense counsel may permit the defendant to view unredacted documents in the presence

22 of his attorney(s), defense investigator(s), and/or support staff. The parties agree that defense counsel,

23 defense investigator(s), and support staff shall not allow the defendant to copy or record protected

24 information contained in the discovery. The parties agree that defense counsel, defense investigator(s),

25 and support staff may provide the defendant with copies of documents, if any, from which protected
26 information has first been redacted.

27          2.      The discovery and information within it may be used only in connection with the

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 1 litigation of this case and for no other purpose. The discovery is now and will forever remain the

 2 property of the United States of America (the government). Defense counsel will return the discovery to

 3 the government at the conclusion of the case.

 4            3.      Defense counsel will store the discovery in a secure place and will use reasonable care to

 5 ensure that it is not disclosed to anyone in violation of this agreement. Defense counsel shall be

 6 responsible for advising the defendant, employees, and other members of the defense team, and defense

 7 witnesses of the contents of this stipulation and order.

 8            4.      Any disputes regarding the above or problems implementing this order shall be brought

 9 to the attention of the court through representative counsel after first consulting and meeting and

10 conferring with opposing counsel.

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12 IT IS SO ORDERED.

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     Dated:        February 1, 2021                                /s/   Sheila K. Oberto             .
14                                                       UNITED STATES MAGISTRATE JUDGE
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